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MEXICO
FOR THE DISTRICT OF NEW MEXICO

SS NOV 22 PH I: 46

 

CARL WILSON, an individual,
and AUDREE WILSON, an
individual,

 

Plaintiffs,
Vv. No. CIV 94 892 JC/LG

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware corporation,

Defendants.

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CERTIFICATE OF SERVICE OF PLAINTIFFS' DESIGNATION OF PHASE II
EXPERT WITNESS AND SERVICE OF PLAINTIFFS' EXPERT WITNESS REPORTS

COME NOW Plaintiffs by their attorneys, LANGBERG, COHN & DROOZ
(Barry B. Langberg, Esq. and Beth Dumas, Esq.) and local counsel,
Ernesto J. Romero J.D. to certify that on November 15, 1996
plaintiffs' counsel served a true copies of the following pleadings
upon defendant's attorneys by federal express, the following: (1)
Plaintiffs' Designation of Phase Two Experts and (2) the
Declarations and Reports of Mark Kaplan, C.P.A.; Marilyn A.
Lashner, Ph.D and of Mr. Berry Fey of Fey Concerts.

Respectfully submitted,
LANGBERG, COHN & DROOZ
and
ROMERO LAW EIRM
CAC

Ernesto J. Romero J.D.
3602 Campus N.E.
Albuquerque, N.M. 87106
(505) 262-2131
Attorneys for Plaintiffs
_- Case SOO Document 125 Filed 11/22/96 Page 2 of 2

CERTIFICATE OF SERVICE

I certify I caused a true copy of the foregoing pleading to be
mailed to defendant's local counsel, William S. Dixon, Esq., Rodey
Law Firm, P.O. Box 1888, Albuquerque, N.M. 87103-1888 and to R.
Bruce Rich, Esq., Weil, Gotshal & Manges, 767 Fifth Avenue, New
York, New York, 10153 On this 21st day of November, 1996 with
correct first-class postage affixed.

 

 

Ernesto J. Romero J.D.
